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16
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17
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                    WESTERN DIVISION
19
     UNITED STATES OF AMERICA,                No. 2:22-cv-02902
20
                Plaintiff,                    VERIFIED COMPLAINT FOR FORFEITURE
21                                            IN REM
                      v.
22                                            18 U.S.C. §§ 981(a)(1)(A), (B),
     REAL PROPERTY IN LOS ANGELES,
23   CALIFORNIA,                              and (C)

24              Defendant.
25

26

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1                     VERIFIED COMPLAINT FOR FORFEITURE IN REM

2         Plaintiff United States of America, by and through its undersigned

3    attorneys, alleges:

4         1.    This is an action to forfeit a multimillion-dollar mansion

5    located in the Holmby Hills neighborhood of Los Angeles, California

6    (APN 4359-013-027).     Title to the real property is in the name of

7    WRH, LLC, which is now known as WRH, Inc.

8         2.    The defendant mansion was involved in, constitutes, is

9    derived from, and is traceable to unlawful bribes paid for the
10   benefit of Gagik Khachatryan (“KHACHATRYAN”), the former minister of
11   finance of the Republic of Armenia, and his sons Gurgen Khachatryan
12   (“GURGEN”) and Artyom Khachatryan (“ARTYOM”), and related money-
13   laundering transactions.      The mansion is therefore subject to
14   forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A), (B), and (C).
15                          PARTIES, PERSONS, AND ENTITIES

16        3.    The plaintiff is the United States of America.

17        4.    The defendant in rem is the real property in Los Angeles,

18   California described in Exhibit A and all appurtenances,

19   improvements, and attachments thereon, as well as leases, rents, and

20   profits derived therefrom (the “Veto Estate”). 1

21        5.    From 2008 to 2016, Gagik KHACHATRYAN served first as the

22   chairman of the State Revenue Committee and later as the minister of

23   finance of the Republic of Armenia.        He has been charged with crimes

24   in Armenia, including receiving bribes in violation of Article 311 of

25   the Criminal Code of the Republic of Armenia.

26

27
     1 Pursuant to Local Rule 5.2-1 of the Local Civil Rules for the
28   Central District of California, the street address of this
     residential property is not set forth in this Complaint.
                                      2
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1         6.    GURGEN and ARTYOM Khachatryan are the adult sons of Gagik

2    KHACHATRYAN.    They have each been charged with crimes in Armenia

3    including receiving bribes in violation of Article 311 of the

4    Criminal Code of the Republic of Armenia.

5         7.    Sedrak ARUSTAMYAN (“ARUSTAMYAN”) is a prominent businessman

6    in Armenia.    He was an executive officer of a consortium of Armenian

7    business entities known as Multi Group.        He has been charged in

8    Armenia with paying bribes to KHACHATRYAN in violation of Article 312

9    of the Criminal Code of the Republic of Armenia.
10        8.    Tadevos T. Khachatrian (“TED”) is a relative of
11   KHACHATRYAN, GURGEN, and ARTYOM, who resides in Los Angeles,
12   California.    TED served as a U.S.-based representative of
13   KHACHATRYAN, GURGEN, and ARTYOM.
14        9.    The Veto Trust is a trust formed under the laws of
15   California by an agreement dated May 11, 2011.          The agreement named
16   GURGEN and ARTYOM as trustors and beneficiaries and GURGEN and
17   Abraham Stepanian as the collective trustee.         Stepanian resigned as
18   trustee shortly after the trust was formed; TED later replaced him in

19   that role.    The Veto Trust purchased the Veto Estate on or around

20   August 5, 2011, with unlawful bribes paid by ARUSTAMYAN.

21        10.   WRH, LLC was a limited liability company formed under the

22   laws of California on or around February 11, 2016.          TED served as

23   WRH, LLC’s manager.     On or around May 15, 2019, WRH, LLC converted

24   into a stock corporation.

25        11.   WRH, Inc. is a California stock corporation formed by the

26   conversion of WRH, LLC on or around May 15, 2019.          TED is the chief

27   executive officer, chief financial officer, and secretary of WRH,

28

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1    Inc.    GURGEN and ARTYOM are the corporation’s directors.         WRH, Inc.

2    is the current title holder of the Veto Estate.

3           12.   The interests of WRH, Inc. may be adversely affected by

4    these proceedings.

5                               JURISDICTION AND VENUE

6           13.   This Court has jurisdiction over civil actions commenced by

7    the United States under 28 U.S.C. § 1345 and over forfeiture actions

8    under 28 U.S.C. § 1355(a).

9           14.   This Court may exercise in rem jurisdiction over the
10   defendant pursuant to 18 U.S.C. § 985(c).

11          15.   Venue lies in this district pursuant to 28 U.S.C.

12   § 1355(b)(1) because acts or omissions giving rise to the forfeiture

13   occurred in this district.      Venue also lies in this district pursuant

14   to 28 U.S.C. § 1395(b) because the defendant in rem is located in

15   this district.

16                               BASIS FOR FORFEITURE

17   I.     The Corruption Scheme

18          16.   Throughout the 1990s and 2000s, KHACHATRYAN held various

19   positions in the tax and customs agencies of the Republic of Armenia.

20          17.   On August 20, 2008, KHACHATRYAN was appointed chairman of

21   the State Revenue Committee of the Republic of Armenia, the

22   government agency responsible for the assessment and collection of

23   taxes under Armenian law.      He remained in that position until his

24   appointment as minister of finance of the Republic of Armenia.

25          18.   On April 26, 2014, KHACHATRYAN was appointed minister of

26   finance of the Republic of Armenia.        At or around the same time that

27   KHACHATRYAN became minister of finance, the Ministry of Finance

28   assumed responsibility for the assessment and collection of taxes in

                                           4
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1    Armenia.     Because KHACHATRYAN exercised both the minister of

2    finance’s traditional responsibilities as well as responsibilities

3    for tax assessment and collection, he was known as the “Super

4    Minister.”

5           19.   KHACHATRYAN remained the minister of finance until on or

6    around September 8, 2016.

7           20.   Sedrak ARUSTAMYAN (“ARUSTAMYAN”) was an executive officer

8    or owner of more than 20 Armenian business entities, which were

9    subject to taxation under Armenian law.        These entities included
10   Multi Leon; Multi Gaz; Multi Motors Ltd; Magas Invest PB; Shustov
11   Trading House PB; AR-BE Armenian-Belarus Trading House; Araratcement
12   PB; Yerevan’s Ararat Cognac-Wine-Vodka Factory; Ecofish Trade Ltd;
13   Raps; Onira Club Ltd; Kotayk Beer Factory Ltd; and Jermuk Turboshin
14   Ltd.
15          21.   While KHACHATRYAN was responsible for tax assessment and
16   collection in Armenia, ARUSTAMYAN made several unlawful payments to
17   KHACHATRYAN and his two sons GURGEN and ARTYOM.          ARUSTAMYAN made the
18   payments to secure favorable tax treatment for his business entities.

19          22.   ARUSTAMYAN, GURGEN, and ARTYOM created at least two sham

20   loan agreements to disguise these payments.         The loan agreements were

21   shams in that no party expected the underlying loans to be repaid.

22          23.   Loan-1. On or around July 9, 2009, approximately one year

23   after KHACHATRYAN was appointed chairman of the State Revenue

24   Committee of the Republic of Armenia, ARUSTAMYAN entered into a

25   $7,000,000 sham loan agreement (“Loan-1”) with GURGEN and ARTYOM.

26   According to the written terms of Loan-1, the loan was due to be paid

27   in full plus 4 percent interest on July 30, 2010.          If the loan was

28

                                           5
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1    not repaid within the specified time, a penalty of 0.01 percent was

2    to be assessed per day.

3         24.   On the date of the loan agreement, GURGEN and ARTYOM were

4    approximately 25 and 23 years old, respectively.

5         25.   On July 29, 2010, the day before payment on the loan was

6    due, ARUSTAMYAN, GURGEN, and ARTYOM entered into an agreement to

7    extend Loan-1’s repayment date to July 30, 2015 (“Amendment-1”).               On

8    July 28, 2015, two days before the amended repayment date,

9    ARUSTAMYAN, GURGEN, and ARTYOM entered another agreement to extend
10   the repayment date to July 30, 2019 (“Amendment-2”).           ARUSTAMYAN did
11   not charge any penalties or receive any consideration for the
12   extensions of the loan.
13        26.   Loan-2.    On or around July 10, 2011, ARUSTAMYAN entered

14   into a $13,400,000 sham loan agreement (“Loan-2”) with GURGEN and

15   ARTYOM.    According to the written terms of Loan-2, the loan was due

16   to be paid in full plus 4 percent interest on July 10, 2016.            As with

17   Loan-1, if the loan was not repaid within the specified time, a

18   penalty of 0.01 percent was to be assessed per day.          As described

19   below, funds from ARUSTAMYAN corresponding to this loan amount were

20   used to purchase the Veto Estate.         Nonetheless, as also described

21   below, ARUSTAMYAN did not obtain a security interest in the Veto

22   Estate.

23        27.   On or around July 7, 2016, three days before Loan-2 was to

24   become due, ARUSTAMYAN, GURGEN, and ARTYOM entered into an agreement

25   to extend the repayment date to July 10, 2019 (“Amendment-3”).            As

26   before, ARUSTAMYAN did not charge any penalties or receive any

27   consideration for the extension of the loan.

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1         28.   As of April 24, 2020, ARUSTAMYAN still had not received any

2    payment of principal or interest on either of his supposed loans.

3    Upon information and belief, he has not received any interest or

4    principal payment on either supposed loan to date.

5         29.   In exchange for payments disguised as Loan-1 and Loan-2 and

6    other corrupt payments, KHACHATRYAN illegally used his influence to

7    reduce the tax liabilities of businesses affiliated with ARUSTAMYAN.

8         30.   In 2018 and 2019, after KHACHATRYAN left public office,

9    Armenian tax authorities conducted retrospective tax inspections of
10   several companies for 2015, the last full year in which KHACHATRYAN
11   was minister of finance.      The Armenian statute of limitations
12   restricted retrospective inspections for prior years.
13        31.   The retrospective tax inspections found that several of
14   ARUSTAMYAN’s companies had significant unpaid tax liabilities that
15   accrued while KHACHATRYAN was responsible for tax collection in
16   Armenia.   The unpaid taxes included value-added tax, profit tax, and
17   excise tax.
18        32.   For example, one of ARUSTAMYAN’s companies, Araratcement

19   PB, was not subject to a tax inspection between at least 2009 and

20   2014, even though it appeared on the list of companies that was

21   supposed to be inspected at least in 2012.         In 2015, KHACHATRYAN’s

22   last full year in office, Araratcement PB was subject to a tax

23   inspection, but tax authorities determined that the company owed

24   unpaid taxes and penalties of only 10,020,716 Armenian dram (less

25   than $25,000 USD).     A retrospective inspection of Araratcement PB’s

26   tax liability conducted after KHACHATRYAN left office found that

27   Araratcement PB actually owed 7,496,360,553 Armenian dram (more than

28   $15,000,000 USD) in unpaid taxes and penalties in 2015, not the

                                           7
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1    significantly smaller sum that had been assessed while KHACHATRYAN

2    was in office.

3          33.     Several other of ARUSTAMYAN’s companies were also found

4    to have unpaid tax liabilities that should have been detected by tax

5    inspections while KHACHATRYAN was in office.         For example, after

6    KHACHATRYAN left office, Multi Leon and Multi Gaz were found to have

7    owed 4,455,474,931 and 4,308,584,225 Armenian dram respectively (more

8    than $9,000,000 USD each).

9          34.    On or about August 27, 2019, Armenian authorities charged
10   KHACHATRYAN with abuse of power and embezzlement.          On or about July
11   22, 2020, Armenian authorities charged KHACHATRYAN with receiving
12   bribes from ARUSTAMYAN under the cover of the sham loan agreements
13   signed by ARTYOM and GURGEN, which are described above as Loan-1 and
14   Loan-2.     The charges and evidence have now been submitted to an
15   Armenian court for a ruling.
16         35.    On or about April 28 and April 29, 2020, Armenian
17   authorities charged GURGEN and ARTYOM with receiving bribes on behalf
18   of their father and laundering the proceeds of the bribes through the

19   use of sham loan agreements.       GURGEN and ARTYOM have fled Armenia.

20         36.    On or about April 30, 2020, Armenian prosecutors charged

21   ARUSTAMYAN with paying bribes to KHACHATRYAN, GURGEN, and ARTYOM.

22   II.   The Purchase Of The Veto Estate

23         37.    KHACHATRYAN, GURGEN, and ARTYOM formed entities to receive,

24   disguise, and conceal illegal bribe payments and to disguise and

25   conceal their ownership of the Veto Estate.         These entities include

26   the Veto Trust; WRH, Inc.; and WRH, LLC.

27         38.    On or around July 7, 2011, the Veto Trust entered into a

28   $14,400,000 Residential Purchase Agreement for the Veto Estate.            The

                                           8
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1    Veto Estate, as described above, is a residential property located in

2    Los Angeles, California.          GURGEN signed the Residential Purchase

3    Agreement on behalf of the Veto Trust.            He did so with the intention

4    that the Veto Estate would become a residence for the Khachatryan

5    family.

6           39.      As proof of their ability to make the purchase, GURGEN

7    provided the seller’s agent with a letter from an Armenian bank

8    stating that GURGEN held over $15,000,000 in an account at that bank.

9    The letter, however, was false and the referenced account did not
10   hold those funds.
11          40.      Instead, the Veto Trust purchased the Veto Estate with
12   illegal bribe payments from ARUSTAMYAN.
13          41.      First, on July 8, 2011, ARUSTAMYAN caused approximately
14   $999,500 to be wired from an HSBC account in Armenia in his name to
15   the Veto Trust’s Bank of America account ending in ‘7103 in the
16   United States.
17
                         Amount in
18    No.     Date       USD           Sender       Recipient    Recipient’s Bank

19       1.   7/8/2011   $999,500.00   Arustamyan   Veto Trust   Bank of America

20
            42.      Four days later, on July 12, 2011, the Veto Trust used
21
     check No. 102 in the amount of $1,000,000 drawn on the same Bank of
22
     America Account to open escrow with West Coast Escrow at Comerica
23
     Bank for purchase of the Veto Estate.
24
            43.      After the Veto Trust’s initial $1 million payment,
25
     ARUSTAMYAN paid the substantial remainder of the purchase price
26
     directly to West Coast Escrow at its account at Comerica Bank.                 From
27
     July 27, 2011 to August 3, 2011, ARUSTAMYAN caused the following wire
28

                                                9
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1     transfers to be made from HSBC Bank accounts in Armenia in his name

2     to the West Coast Escrow account at Comerica Bank:

3

4      No.    Date        Amount in USD   Sender       Recipient           Recipient’s Bank

5
         2.   7/27/2011   $1,998,981.00   Arustamyan   West Coast Escrow   Comerica Bank
6
         3.   7/28/2011   $1,998,980.50   Arustamyan   West Coast Escrow   Comerica Bank
7
         4.   7/29/2011   $1,998,980.05   Arustamyan   West Coast Escrow   Comerica Bank
8
         5.    8/2/2011   $2,398,780.60   Arustamyan   West Coast Escrow   Comerica Bank
9
         6.    8/3/2011   $5,005,477.25   Arustamyan   West Coast Escrow   Comerica Bank
10

11
              44.    Wires 2 through 6 in the above table total $13,401,199.40.
12
      This sum corresponds to the amount of Loan-2, the $13,400,000 sham
13
      loan agreement that ARUSTAMYAN entered with GURGEN and ARTYOM on July
14
      10, 2011.      Each of Wires 1 through 6 was an illegal bribe payment.
15
              45.     Despite having funded the purchase of the Veto Estate,
16
      ARUSTAMYAN signed an Escrow Modification on July 29, 2011, that read
17
      in part “Arustamyan Sedrak understands that he will not appear on
18
      title to subject property and relinquishes any claim to funds
19
      deposited herein.”
20
              46.    The purchase of the Veto Estate closed on or around August
21
      5, 2011.
22
              47.    On or around October 26, 2011, the Landry Design Group
23
      (“LDG”), a residential architecture firm based in Los Angeles,
24
      provided ARTYOM and GURGEN a proposal to design a new house on the
25
      Veto Estate property.        GURGEN and ARTYOM told LDG that they wanted
26
      their children to attend school in Los Angeles and instructed them to
27
      design the home as their family’s residence.
28

                                               10
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1            48.   GURGEN and ARTYOM retained LDG to design a home at the Veto

2     Estate, which was to be constructed after the demolition of the

3     existing house.     LDG issued a complete set of construction drawings

4     in or around December 2013, though it continued to revise the

5     drawings even after construction began.

6            49.   The drawings called for a residence with at least 10

7     bedrooms (in addition to separate servants’ quarters), a two-story

8     library, a wine cellar, a theater, a squash court, a “hammam,” and an

9     indoor swimming pool.     The bedrooms in the residence were labelled as
10    intended for GURGEN and his wife, ARTYOM and his wife, for the
11    children of both couples, for Angela (GURGEN and ARTYOM’s sister),
12    and for guests.
13           50.   One bedroom was labeled simply “Master Bedroom”; although

14    it was not identified on the drawings as such, this bedroom was

15    intended for KHACHATRYAN and his wife, Laura Yepremyan.           When

16    Yepremyan met with designers, she provided guidance primarily on the

17    design of the “Master Bedroom.”

18           51.   Construction on the new residence began in 2015.

19           52.   On or around May 13, 2016, the Veto Trust transferred title

20    to the Veto Estate to WRH, LLC.       The trust transfer deed cited

21    California Revenue & Taxation Code § 11925(d), which concerns

22    transfers “that result[] solely in a change in the method of holding

23    title . . . and in which proportional ownership interests . . .

24    remain the same.”     Cal. R&T Code 11925(d).

25           53.   On or around May 15, 2019, WRH, LLC converted into WRH,

26    Inc.

27

28

                                           11
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1          54.   On or around April 7, 2022, the Veto Estate was listed as

2     for sale on TheMLS multiple listing service, a database used by real

3     estate brokers to advertise properties for sale.

4                              ALLEGATIONS OF FOREIGN LAW

5          55.   The laws of the Republic of Armenia criminalize bribery of

6     public officials and the receipt of bribe payments by public

7     officials.

8          56.   Article 311 of the Criminal Code of the Republic of Armenia

9     makes it a criminal offense for a public official to receive a bribe
10    personally or through an intermediary.
11         57.   Article 312 of the Criminal Code of the Republic of Armenia
12    makes it a criminal offense to give a bribe to a public official
13    personally or through an intermediary.
14         58.   Article 313 of the Criminal Code of the Republic of Armenia
15    makes it a criminal offense to facilitate a bribe either by promoting
16    an agreement between the bribe payer and the bribe taker or by
17    implementing a previously reached agreement.
18         59.   Each of the above offenses is punishable by imprisonment

19    for a term exceeding one year.

20                               FIRST CLAIM FOR RELIEF
                               (18 U.S.C. § 981(a)(1)(A))
21
           60.   The preceding paragraphs are incorporated by reference as
22
      if fully set forth herein.
23
           61.   The defendant in rem is property involved in, or traceable
24
      to property involved in, a transaction in violation of 18 U.S.C.
25
      §§ 1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 1956(a)(2)(A),
26
      1956(a)(2)(B)(i), 1956(h), and 1957.
27

28

                                           12
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1          62.   For purposes of 18 U.S.C. §§ 1956 and 1957, “specified

2     unlawful activity” includes, among other things, “an offense against

3     a foreign nation . . . involving bribery of a public official.”            18

4     U.S.C. § 1956(c)(7)(B)(iv).

5          63.   As set forth above:

6                a.   the defendant in rem is property involved in, or

7          is traceable to property involved in, a financial

8          transaction or attempted financial transaction involving

9          the proceeds of an offense against a foreign nation
10         involving bribery of a public official, which transaction
11         or attempted transaction was conducted with the knowledge
12         that the property involved in the transaction represented
13         the proceeds of some form of unlawful activity and with the
14         intent to promote the carrying on of specified unlawful
15         activity in violation of 18 U.S.C. § 1956(a)(1)(A)(i);
16               b.   the defendant in rem is property involved in, or
17         is traceable to property involved in, a financial

18         transaction or attempted financial transaction involving

19         the proceeds of an offense against a foreign nation

20         involving bribery of a public official, which transaction

21         or attempted transaction was conducted with the knowledge

22         that the property involved in the transaction or attempted

23         transaction represented the proceeds of some form of

24         unlawful activity and that the transaction or attempted

25         transaction was designed in whole or in part to conceal or

26         disguise the nature, the location, the source, the

27         ownership, or the control of the proceeds of specified

28

                                           13
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1          unlawful activity in violation of 18 U.S.C.

2          § 1956(a)(1)(B)(i);

3                c.   the defendant in rem is property involved in, or

4          is traceable to property involved in, the transportation,

5          transmission, or transfer, or the attempted transportation,

6          transmission, or transfer, of a monetary instrument or

7          funds to a place in the United States from or through a

8          place outside the United States with the intent to promote

9          the carrying on of an offense against a foreign nation
10         involving bribery of a public official in violation of 18
11         U.S.C. § 1956(a)(2)(A);
12               d.   the defendant in rem is property involved in, or
13         is traceable to property involved in, the transportation,

14         transmission, or transfer, or the attempted transportation,

15         transmission, or transfer, of a monetary instrument or

16         funds to a place in the United States from or through a

17         place outside the United States, with the knowledge that

18         the monetary instruments or funds represented the proceeds

19         of some form of unlawful activity and with the knowledge

20         that the transportation, transmission, or transfer, or

21         attempted transportation, transmission, or transfer, was

22         designed in whole or in part to conceal or disguise the

23         nature, the location, the source, the ownership, or the

24         control of the proceeds of an offense against a foreign

25         nation involving bribery of a public official in violation

26         of 18 U.S.C. § 1956(a)(2)(B)(i);

27               e.   the defendant in rem is property involved in, or

28         is traceable to property involved in, a monetary

                                           14
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1          transaction or attempted monetary transaction, affecting

2          interstate or foreign commerce, in criminally derived

3          property of a value greater than $10,000 derived from an

4          offense against a foreign nation involving bribery of a

5          public official, which transaction or attempted transaction

6          was conducted with the knowledge that the property involved

7          was criminally derived in violation of 18 U.S.C. § 1957;

8          and

9                f.    the defendant in rem is property involved in, or
10         traceable to property involved in, a conspiracy in

11         violation of 18 U.S.C. § 1956(h).        Specifically, the

12         defendant in rem is property involved in, or traceable to

13         property involved in, a conspiracy to commit the violations

14         of 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(B)(i),

15         1956(a)(2)(A), 1956(a)(2)(B)(i), and 1957 set forth in

16         subparagraphs a through e above.

17         64.   For each of the above reasons, the defendant in rem is

18    subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

19                               SECOND CLAIM FOR RELIEF
                               (18 U.S.C. § 981(a)(1)(B))
20
           65.   The preceding paragraphs are incorporated by reference as
21
      if fully set forth herein.
22
           66.   The defendant in rem is property that constitutes, is
23
      derived from, or is traceable to proceeds obtained directly or
24
      indirectly from an offense against a foreign nation involving bribery
25
      of a public official, or was used to facilitate such an offense,
26
      which offense is a specified unlawful activity under 18 U.S.C.
27
      § 1956(c)(7)(B)(iv) that would be punishable for a term of
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                                           15
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1     imprisonment exceeding one year within the foreign jurisdiction and

2     would be punishable under the laws of the United States by

3     imprisonment for a term exceeding one year, if the act or activity

4     constituting the offense had occurred within the jurisdiction of the

5     United States.

6          67.   The defendant in rem is therefore subject to forfeiture

7     pursuant to 18 U.S.C. § 981(a)(1)(B).

8                                THIRD CLAIM FOR RELIEF
                               (18 U.S.C. § 981(a)(1)(C))
9
           68.   The preceding paragraphs are incorporated by reference as
10
      if fully set forth herein.
11
           69.   The defendant in rem is property that constitutes, or is
12
      derived from, proceeds traceable to an offense against a foreign
13
      nation involving bribery of a public official, which is a specified
14
      unlawful activity under 18 U.S.C. § 1956(c)(7)(B)(iv), or a
15
      conspiracy to commit such an offense.
16
           70.   The defendant in rem is therefore subject to forfeiture
17
      pursuant to 18 U.S.C. § 981(a)(1)(C).
18
                                    PRAYER FOR RELIEF
19
           WHEREFORE, Plaintiff the United States of America requests:
20
           (i) that the defendant in rem be proceeded against according to
21

22    the law and the rules of this Court, and that due notice be given to

23    all the interested parties to appear and show cause why forfeiture

24    should not be decreed;
25         (ii) that the Court, for the reasons set forth herein, adjudge
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      and decree that the defendant in rem be forfeited to the United States
27
      of America and disposed of in accordance with existing laws, together
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1     with costs; and
2          (iii) that the Court order such other relief as it deems just,
3
      appropriate and in accordance with law.
4

5                                  Respectfully submitted,

6
      DATED: May 2, 2022           DEBORAH CONNOR, Chief
7                                  D. HUNTER SMITH, Trial Attorney
8                                  Money Laundering and Asset Recovery Section
                                   Criminal Division
9                                  United States Department of Justice

10                                 TRACY L. WILKISON
                                   United States Attorney
11                                 SCOTT M. GARRINGER
12                                 Assistant United States Attorney
                                   Chief, Criminal Division
13                                 JONATHAN GALATZAN
                                   Assistant United States Attorney
14                                 Chief, Asset Forfeiture Section
15
                                   /s/ Maxwell Coll
16

17                                 MAXWELL COLL
                                   Assistant United States Attorney
18
                                   Attorneys for Plaintiff
19                                 UNITED STATES OF AMERICA
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 1                                      VERIFICATION
 2           i, Mark Newhouse, hereby verify and declare under penalty of
 3     perjury that I am a Special Agent with the Federal Bureau of
 4     Investigation, that I have read the foregoing Verified Complaint for

 5     Forfeiture In Rem and know the contents thereof, and that the factual
 6     allegations contained in the Verified Complaint are true to the best
 7     of my knowledge and belief .



 9
                                                SA Mark Newhouse
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11           Executed this        day of              2022 in Los Angeles,
12     Cali fornia .
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